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                               ACTUAL TRADING. ALSO, SINCE THE TRADES HAVE NOT BEEN EXECUTED, THE RESULTS MAY HAVE
                               UNDER-OR-OVER COMPENSATED FOR THE IMPACT, IF ANY, OF CERTAIN MARKET FACTORS, SUCH AS
                               LACK OF LIQUIDITY. SIMULATED TRADING PROGRAMS IN GENERAL ARE ALSO SUBJECT TO THE FACT
                               THAT THEY ARE DESIGNED WITH THE BENEFIT OF HINDSIGHT. NO REPRESENTATION IS BEING MADE
                               THAT ANY ACCOUNT WILL OR IS LIKELY TO ACHIEVE PROFIT OR LOSSES SIMILAR TO THOSE SHOWN.
                               All trades, patterns, charts, systems, etc., discussed in this advertisement and the product materials are for
                               illustrative purposes only and not to be construed as specific advisory recommendations. All ideas and material
                               presented are entirely those of the author and do not necessarily reflect those of the publisher or
                               TopstepTrader.com.

                               SEC Disclosure:
                               We do not promote any stocks on this site. We do not receive any compensation from companies whose stocks
                               appear on this site and we have no financial interest in the outcome of any stock trades mentioned herein.
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                               PLEASE NOTE THE FOLLOWING IMPORTANT DISCLAIMERS OF WARRANTIES:
                               TO THE MAXIMUM EXTENT ALLOWED BY LAW, THE WEBSITE, ANY CONTENT, ANY WIDGETS AND ANY
                               PRODUCTS OR SERVICES PROVIDED VIA THE WEBSITE ARE PROVIDED “AS IS” AND “AS AVAILABLE,”
                               AND AT YOUR SOLE RISK. TO THE MAXIMUM EXTENT ALLOWED BY LAW, COMPANY EXPRESSLY
                               DISCLAIMS ALL WARRANTIES OF ANY KIND, WHETHER EXPRESS OR IMPLIED, INCLUDING, WITHOUT
                               LIMITATION, THE IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR USE OR
                               PURPOSE, TITLE AND NON-INFRINGEMENT.
                               WITHOUT LIMITATION, COMPANY MAKES NO WARRANTY THAT THE WEBSITE, ANY CONTENT, ANY
                               WIDGETS OR ANY SERVICES PROVIDED VIA THE WEBSITE WILL MEET YOUR REQUIREMENTS, THAT USE
                               OF THE FOREGOING WILL BE UNINTERRUPTED, TIMELY, SECURE, OR ERROR-FREE, THAT THE RESULTS
                               OBTAINED FROM THE USE OF THE FOREGOING OR ANY INFORMATION FOUND THEREON WILL BE
                               ACCURATE OR RELIABLE, OR THAT THE QUALITY OF ANY CONTENT, PRODUCTS, SERVICES,
                               INFORMATION OR OTHER MATERIAL OBTAINED THROUGH THE WEBSITE WILL MEET YOUR
                               EXPECTATIONS.
                               ANY CONTENT, WIDGETS OR OTHER MATERIAL DOWNLOADED OR OTHERWISE OBTAINED THROUGH
                               THE USE OF THE WEBSITE IS DONE AT YOUR SOLE RISK, AND YOU WILL BE SOLELY RESPONSIBLE FOR
                               ANY DAMAGE TO YOUR COMPUTER SYSTEM OR LOSS OF DATA THAT RESULTS FROM THE DOWNLOAD
                               OF ANY SUCH MATERIAL.
                               FURTHER, PLEASE NOTE THAT NO ADVICE OR INFORMATION OBTAINED BY YOU THROUGH THE
                               WEBSITE OR ANY SERVICE SHALL CREATE ANY WARRANTY NOT EXPRESSLY PROVIDED FOR IN THESE
                               TERMS OF USE.
                               Limitation of Liability
                               TO THE MAXIMUM EXTENT ALLOWED BY LAW, YOU EXPRESSLY UNDERSTAND AND AGREE THAT
                               COMPANY SHALL NOT BE LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL, CONSEQUENTIAL,
                               PUNITIVE OR EXEMPLARY DAMAGES, INCLUDING WITHOUT LIMITATION, DAMAGES FOR LOSS OF
                               PROFITS, GOODWILL, USE, DATA OR OTHER INTANGIBLE LOSSES (EVEN IF COMPANY HAS BEEN
                               ADVISED OF THE POSSIBILITY OF SUCH DAMAGES), RESULTING FROM: (A) THE USE OR THE INABILITY
                               TO USE THE WEBSITE, ANY CONTENT, WIDGETS OR ANY PRODUCTS OR SERVICES PURCHASED VIA
                               THE WEBSITE; (B) THE COST OF PROCUREMENT OF SUBSTITUTE PRODUCTS AND SERVICES
                               RESULTING FROM ANY PRODUCTS, DATA, INFORMATION OR SERVICES PURCHASED OR OBTAINED OR
                               MESSAGES RECEIVED OR TRANSACTIONS ENTERED INTO THROUGH OR FROM THE WEBSITE OR
                               OTHERWISE; (C) UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR TRANSMISSIONS, CONTENT OR
                               DATA; OR (D) ANY OTHER MATTER RELATING TO THE WEBSITE, ANY CONTENT, WIDGETS OR THE
                               PURCHASE OF COMPANY’S PRODUCTS OR SERVICES. IF YOU ARE DISSATISFIED WITH THE WEBSITE,
                               YOUR SOLE AND EXCLUSIVE REMEDY SHALL BE TO DISCONTINUE USE OF THE WEBSITE AND

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                               TERMINATE THIS AGREEMENT IN ACCORDANCE WITH ITS TERMS. TO THE MAXIMUM EXTENT ALLOWED
                               BY LAW, IN NO EVENT SHALL COMPANY’S TOTAL LIABILITY TO YOU FOR ALL DAMAGES, LOSSES, AND
                               CAUSES OF ACTION (WHETHER IN CONTRACT, TORT (INCLUDING, BUT NOT LIMITED TO, NEGLIGENCE)
                               OR OTHERWISE) EXCEED THE AMOUNT PAID BY YOU, IF ANY, FOR ACCESSING THE WEBSITE, WIDGETS,
                               OR PURCHASING ANY CONTENT OR PURCHASING COMPANY’S SERVICES OR ANY AMOUNT RETAINED
                               BY COMPANY FROM YOU FOR PROVIDING THE SERVICES.
                               SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF CERTAIN WARRANTIES OR THE LIMITATION
                               OR EXCLUSION OF LIABILITY FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES. ACCORDINGLY, SOME
                               OF THE ABOVE LIMITATIONS MAY NOT APPLY TO YOU.

                               Indemnification
                               You agree to indemnify, defend and hold harmless Company, and its officers, directors, employees, agents,
                               information providers and suppliers from and against all claims, causes of action, suits, losses, expenses, damages
                               and costs, including reasonable attorney's fees, arising out of, in connection with or relating to any violation by you
                               of the Subscription Agreement or these Terms of Use, including claims of infringement of intellectual property or
                               other third party rights, or otherwise, directly or indirectly resulting from or attributable in any way to any access to,
                               use of or posting of material or content on the Company site by you.

                               Term and Termination
                               This Agreement is effective upon your unequivocal acceptance as set forth herein and shall continue in full force
                               until terminated. You agree that Company, in its sole discretion, may terminate your use of the Website or any part
                               thereof upon prior notice, and remove and discard any Content, in the event you violate these Terms of Use. You
                               agree that Company may immediately suspend your account and your access to the Website or any part thereof in
                               order to conduct an investigation in the event it believes you have violated these Terms of Use or if it determines
                               that you are a repeat infringer of another’s intellectual property or other rights. Company may also, in its sole
                               discretion and at any time, discontinue providing the Website, any part thereof, any Content or any products or
                               services advertised thereon, with or without notice. In addition to any other method of termination or suspension
                               provided for in this Agreement, Company reserves the right to terminate this Agreement at any time and for any
                               reason upon ten (10) days notice to you. Further, you agree that Company shall not be liable to you or any third
                               party for any termination or suspension of your access to the Website or any part thereof, removal of Content or sale
                               of any services. You may terminate this Agreement at any time by immediately discontinuing all access to the
                               Website and by providing notice to Company of such discontinuance. Termination or cancellation of this Agreement
                               shall not affect any right or relief to which Company may be entitled at law or in equity. Upon termination of this
                               Agreement, you shall terminate all use of the Website and any Content provided thereby. In the event of
                               termination, you will not be entitled to any refund of any fees or other charges, if any, paid in connection with this
                               Agreement.


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                               Governing Law and Other Miscellaneous Terms
                               The parties and their respective personnel are and shall be independent contractors, and neither party by virtue of
                               this Agreement shall have any right, power or authority to act or create any obligation, express or implied, on behalf
                               of the other party.
                               You acknowledge and agree that any expenses that you incur in furtherance of this Agreement are voluntary in
                               nature and are made with the knowledge that this Agreement may be terminated as provided herein. You shall not
                               make a claim against Company, and Company shall not be liable with respect to the recoupment of any
                               expenditures or investment made by you in anticipation of the continuation of this Agreement beyond the term
                               hereof.
                               The parties agree that breach of the provisions of this Agreement would cause irreparable harm and significant
                               injury to Company which would be both difficult to ascertain and which would not be compensable by damages
                               alone. As such, the parties agree that Company has the right to enforce the provisions of this Agreement by
                               injunction (without necessity of posting bond), specific performance or other equitable relief without prejudice to any
                               other rights and remedies Company may have for your breach of this Agreement.
                               The validity and effect of these Terms of Use shall be governed by, and construed and enforced in accordance with
                               the laws of Illinois, without regard to its conflicts or choice of laws principles. ANY SUIT, ACTION OR
                               PROCEEDING CONCERNING OR RELATING TO THE WEBSITE, ITS USE, THESE TERMS OF USE, ANY SALE
                               OR ANY OTHER PRODUCT, SERVICE, POLICY OR PROCEDURE OF COMPANY, MUST BE BROUGHT
                               EXCLUSIVELY IN A COURT OF COMPETENT JURISDICTION IN ILLINOIS, AND YOU HEREBY IRREVOCABLY
                               CONSENT TO THE JURISDICTION OF SUCH COURT (AND OF THE APPROPRIATE APPELLATE COURTS
                               THEREFROM) IN ANY SUCH SUIT, ACTION OR PROCEEDING, YOU IRREVOCABLY WAIVE, TO THE
                               FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY OBJECTION WHICH YOU MAY NOW OR
                               HEREAFTER HAVE TO THE LAYING OF VENUE OF ANY SUCH SUIT, ACTION OR PROCEEDING IN ANY
                               SUCH COURT OR THAT ANY SUCH SUIT, ACTION OR PROCEEDING WHICH IS BROUGHT IN ANY SUCH
                               COURT HAS BEEN BROUGHT IN AN INCONVENIENT OR IMPROPER FORUM.
                               If any action at law or in equity is necessary to enforce the terms of this Agreement, the prevailing party will be
                               entitled to reasonable fees of attorneys, accountants and other professionals, and costs and expenses in addition to
                               any other relief to which such prevailing party may be entitled.
                               The captions and headings of this Agreement are included for ease of reference only and will be disregarded in
                               interpreting and construing this Agreement.
                               If the performance of any part of this Agreement by either party (other than payment of money) is prevented,
                               hindered, delayed or otherwise made impracticable by reason of any flood, riot, fire, judicial or governmental action,
                               labor dispute, act of God, telecommunications failure or any other cause beyond the control of either party, that
                               party shall be excused from such performance to the extent that it is prevented, hindered or delayed by such cause.
                                 This Agreement, including any other agreements or additional terms referenced herein, constitutes the complete
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                               and exclusive statement of the Agreement between the parties with respect to the Website, Content, Widgets and
                               services offered via the Website, and, unless otherwise expressly provided herein, it supersedes any and all prior or
                               contemporaneous communications, representations, statements and understandings, whether oral or written,
                               between the parties concerning the Website, Content, Widgets and services sold via the Website. If any provision
                               of this Agreement is found unlawful or unenforceable in any respect, the court shall reform such provision so as to
                               render it enforceable or, if it is not possible to reform such provision so as to make it enforceable, then delete such
                               provision. As so reformed or modified, the court shall fully enforce this Agreement. The provisions of this
                               Agreement that by their content are intended to survive the expiration or termination of this Agreement, including,
                               without limitation, provisions governing ownership and use of intellectual property, representations, disclaimers,
                               warranties, liability, indemnification, governing law, jurisdiction, venue, remedies, rights after termination and
                               interpretation of this Agreement, will survive the expiration or termination of this Agreement for their full statutory
                               period.
                               The United Nations Convention on Contracts for the International Sale of Goods and the Uniform Computer
                               Information Transactions Act shall not apply to this Agreement.
                               Company makes no representation that the Website, Content or other material or information on the Website is
                               appropriate to or available in locations outside of the United States. You may not use the Website or export Content
                               in violation of United States export laws, regulations or restrictions. If you access the Website from outside of the
                               United States, you are responsible for compliance with all applicable laws.

                               Copyright and Copyright Notices
                               Company respects the intellectual property of others, and we ask our users to do the same. If you believe that your
                               work has been copied in a way that constitutes copyright infringement, please provide Company’s Copyright Agent
                               the following information:

                                       an electronic or physical signature of the owner or person authorized to act on behalf of the owner of the copyright interest;
                                       a description of the copyrighted work that you claim has been infringed;
                                       a description of where the material that you claim is infringing is located on the Website sufficient to allow us to locate the
                                       allegedly infringing material;
                                       your address, telephone number, and email address;
                                       a statement by you that you have a good faith belief that the disputed use is not authorized by the copyright owner, its agent,
                                       or the law; and
                                       a statement by you, made under penalty of perjury, that the above information in your notice is accurate and that you are the
                                       copyright owner or authorized to act on the copyright owner’s behalf.

                               Please contact Company’s Copyright Agent for Notice of Claims of copyright infringement at:
                               support@topsteptrader.com. Copyright owners and agents acknowledge that failure to comply with all of the
                               requirements of the foregoing may result in an invalidity of the DMCA notice.
                               Counter-Notice. If you believe that the User Content that was removed (or to which access was disabled) is not
                               infringing, or that you have authorization from the copyright owner, the copyright owner’s agent, or pursuant to the
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                               law, to post and use the User Content, you may send a counter-notice containing the following information to the
                               Copyright Agent:

                                       your physical or electronic signature;
                                       identification of the User Content that has been removed or to which access has been disabled and the location at which the
                                       User Content appeared before it was removed or disabled;
                                       a statement that you have a good faith belief that the User Content was removed or disabled as a result of mistake or a
                                       misidentification of the User Content; and
                                       your name, address, telephone number, and e-mail address, a statement that you consent to the jurisdiction of the federal
                                       court in Illinois and a statement that you will accept service of process from the person who provided notification of the
                                       alleged infringement.

                               If a counter-notice is received by the Copyright Agent, Company may send a copy of the counter-notice to the
                               original complaining party informing that person that it may replace the removed User Content or cease disabling it
                               in 10 business days. Unless the copyright owner files an action seeking a court order against the person providing
                               such User Content, the removed User Content may be replaced, or access to it restored, in 10 to 14 business days
                               or more after receipt of the counter-notice, at Company’s sole discretion.



                               The following terms and conditions are effective June 24, 2014 for all Trading Challenges

                               IMPORTANT! PLEASE CAREFULLY READ THESE TERMS AND CONDITIONS PRIOR TO USING
                               TOPSTEPTRADER, AS THESE TERMS AND CONDITIONS AFFECT YOUR LEGAL RIGHTS AND
                               OBLIGATIONS.

                               ACCEPTANCE OF TERMS
                               The web pages available at www.TopstepTrader.com, and all linked pages ("Site"), are owned and operated by
                               TopstepTrader, LLC. Please read these terms of use carefully before using the Site.

                               USER AGREEMENT
                               TopstepTrader owns and operates the Website that links to these Terms of Use. We are pleased to offer you access
                               to our Website and the ability to participate in our trading contests of skill, other content, products, services, and
                               promotions (collectively the "Services") that we may provide from our Website, subject to these Terms of Use (the
                               "Terms of Use"), our privacy policy (the "Privacy Policy") and the Official Rules and Regulations for the applicable
                               contests and promotions (the “Rules” or "Rules and Scoring," and together with the Terms of Use and the Privacy
                               Policy, the "Agreements").

                               CONSIDERATION
                               You agree to these Terms of Use by accessing or using the Website, registering for Services offered on the
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                               Website, or by accepting, uploading, submitting or downloading any information or content from or to the Website. IF
                               YOU DO NOT AGREE TO BE BOUND BY ALL OF THESE TERMS OF USE, DO NOT USE THE WEBSITE. These
                               Terms of Use constitute a legal agreement between you and TopstepTrader, and shall apply to your use of the
                               Website and the Services even after termination.

                               ELIGIBILITY
                               You must be at least 18 years of age to open an account, participate in contests, or win prizes offered by the
                               Website. In jurisdictions, territories, and locations where the minimum age for permissible use of the Website is
                               greater than 18 years old, you must meet the age requirement in your local jurisdiction or territory. You must be at
                               least 19 years of age at time of contest registration if you are a legal resident of Alabama or Nebraska. Legal
                               residents physically located in any of the 50 states and Washington DC, excluding Arizona, Iowa, Louisiana,
                               Montana, Washington, and Quebec, Canada are eligible to open an account and participate in contests offered by
                               the Website. Legal residents of Arizona, Iowa, Louisiana, Montana, and Washington (the “Excluded States”) are
                               ineligible for prizes offered by the Website. Residents of the Excluded States are eligible to open and maintain
                               accounts on the Website for use only in games that do not offer prizes. With the exception of Quebec, legal
                               residents of Canada are eligible to open an account and participate in contests offered by the Website.
                               "Authorized Account Holder" is defined as the natural person 18 years of age or older who is assigned to an e-mail
                               address by an Internet access provider, on-line service provider, or other organization (e.g., business, education
                               institution, etc.) that is responsible for assigning e-mail addresses for the domain associated with the submitted e-
                               mail address for registration on the Website. By inputting a payment method to participate in real money contests,
                               the Authorized Account Holder hereby affirms that the Authorized Account Holder is the lawful owner of the payment
                               method account used to make any deposit(s) on the Website. It shall be a violation of these Terms of Use for any
                               Authorized Account Holder to submit payment using any payment method that is not owned by the Authorized
                               Account Holder.
                               TopstepTrader employees may use the Website, and will from time to time do so for the purpose of testing the site
                               user experience, socializing and competing with customers to build community, and other reasonable and fair uses
                               at the discretion of TopstepTrader.

                               CONTEST ENTRY
                               Users will be able to visit the Website and view the games available for entry (the “Contests”). Each individual
                               Contest that is not free to enter has an entry fee listed in US dollars. When you select to participate in a Contest and
                               complete the entry process, the listed amount of US dollars will be debited from your TopstepTrader account.
                               When you opt to participate in a contest, that amount in US dollars will be debited from your TopstepTrader account.
                               Then, follow the links and instructions provided for entry.

                               REFUND POLICY

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                               All payments are final and no refunds will be issued. In the event of a dispute regarding the identity of the person
                               submitting an entry, the entry will be deemed submitted by the person in whose name the account was registered.

                               CONDITIONS OF PARTICIPATION
                               In order to participate in a contest on the Site, you must register for an account. By registering as a user of the Site,
                               you agree to provide accurate, current and complete information about yourself as prompted (such information
                               being the Registration Data) and maintain and promptly update the Registration Data to keep it accurate, current
                               and complete. If you provide any information that is inaccurate, not current or incomplete, or TopstepTrader has
                               reasonable grounds to suspect that such information is inaccurate, not current or incomplete, TopstepTrader may
                               deny you access to areas requiring registration, at its sole discretion.
                               At the time of registration for online account access, you must provide a valid email address and supply a Username
                               and Password to be used in conjunction with your account. Many portions of the Site require registration for access
                               (the "Restricted Areas"). You are responsible for maintaining the confidentiality of your Username and Password,
                               and are fully responsible for all uses of your Username and Password, whether by you or others. You agree to (a)
                               keep your Username and Password confidential and not share them with anyone else; (b) immediately notify
                               TopstepTrader of any unauthorized use of your Username and Password or account or any other breach of security;
                               and (c) use only your Username and Password to access the Site's Restricted Areas. TopstepTrader cannot and will
                               not be liable for any loss or damage arising from your failure to comply with this Section. In the event of a dispute
                               regarding the identity of the person submitting an entry, the entry will be deemed submitted by the person in whose
                               Username the entry was submitted, or if possession of the Username itself is contested, the name in which the
                               email address on file was registered with the email service provider.
                               You acknowledge and agree that TopstepTrader is authorized to act on instructions received through use of your
                               Username and Password, and that TopstepTrader may, but is not obligated to, deny access or block any transaction
                               made through use of your Username and Password without prior notice if we believe your Username and Password
                               are being used by someone other than you, or for any other reason.
                               By entering a Contest, entrants agree to be bound by these Rules and the decisions of TopstepTrader, which shall
                               be final and binding in all respects. The Company, at its sole discretion, may disqualify any entrant from a Contest,
                               refuse to award benefits or prizes and require the return of any prizes, if the entrant engages in conduct the
                               Company deems to be improper, unfair or otherwise adverse to the operation of the Contest or is in any way
                               detrimental to other entrants. Improper conduct includes, but is not limited to:

                                       Falsifying personal information required to enter a Contest or claim a prize;
                                       Engaging in any type of financial fraud including unauthorized use of credit instruments to enter a Contest or claim a prize;
                                       Colluding with any other individual(s) or engaging in any type of syndicate play;
                                       Any violation of Contest rules or the Terms of Use;
                                       Accumulating points or prizes through unauthorized methods such as automated scripts, bots, or other automated means;
                                       Using automated means (including but not limited to harvesting bots, robots, parser, spiders or screen scrapers) to obtain,
                                       collect or access any information on the Website or of any User for any purpose.

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                                       Any type of bonus abuse, abuse of the refer-a-friend program, or abuse of any other offers or promotions;
                                       Tampering with the administration of a Contest or trying to in any way tamper with the computer programs or any security
                                       measure associated with a Contest;
                                       Obtaining other entrants information and spamming other entrants; or
                                       Abusing the Website in any way.

                               Users further acknowledge that the forfeiture and/or return of any prize shall in no way prevent TopstepTrader from
                               pursuing criminal or civil proceedings in connection with such conduct.
                               By entering into a Contest or accepting any prize, entrants, including but not limited to the winner(s), agree to
                               indemnify, release and to hold harmless TopstepTrader, its parents, subsidiaries, affiliates and agents, as well as
                               the officers, directors, employees, shareholders and representatives of any of the foregoing entities (collectively, the
                               "Released Parties"), from any and all liability, claims or actions of any kind whatsoever, including but not limited to
                               injuries, damages, or losses to persons and property which may be sustained in connection with participation in the
                               Contest, the receipt, ownership, use or misuse of any prize or while preparing for, participating in and/or travelling to
                               or from any prize related activity, as well as any claims based on publicity rights, defamation, or invasion of privacy.
                               TopstepTrader may, in its sole and absolute discretion, require an Authorized Account Holder to execute a separate
                               release of claims similar to the one listed above in this Paragraph as a condition of being awarded any prize or
                               receiving any payout.
                               TopstepTrader is not responsible for: any incorrect, invalid or inaccurate entry information; human errors; postal
                               delays/postage due mail; technical malfunctions; failures, including public utility or telephone outages; omissions,
                               interruptions, deletions or defects of any telephone system or network, computer online systems, data, computer
                               equipment, servers, providers, or software (including, but not limited to software and operating systems that do not
                               permit an entrant to participate in a Contest), including without limitation any injury or damage to any entrant's or any
                               other person's computer or video equipment relating to or resulting from participation in a Contest; inability to access
                               the Website, or any web pages that are part of or related to the Website; theft, tampering, destruction, or
                               unauthorized access to, or alteration of, entries and/or images of any kind; data that is processed late or incorrectly
                               or is incomplete or lost due to telephone, postal issues, computer or electronic malfunction or traffic congestion on
                               telephone lines or transmission systems, or the Internet, or any service provider's facilities, or any phone site or
                               website or for any other reason whatsoever; typographical, printing or other errors, or any combination thereof.
                               TopstepTrader is not responsible for incomplete, illegible, misdirected or stolen entries. If for any reason a Contest
                               is not capable of running as originally planned, or if a Contest, computer application, or website associated therewith
                               (or any portion thereof) becomes corrupted or does not allow the proper entry to a Contest in accordance with the
                               Terms of Use or applicable Contest rules, or if infection by a computer (or similar) virus, bug, tampering,
                               unauthorized intervention, actions by entrants, fraud, technical failures, or any other causes of any kind, in the sole
                               opinion of TopstepTrader corrupts or affects the administration, security, fairness, integrity, or proper conduct of a
                               Contest, the Company reserves the right, at its sole discretion, to disqualify any individual implicated in such action
                               and/or to cancel, terminate, extend, modify or suspend the Contest, and select the winner(s) from all eligible entries
                               received. If such cancellation, termination, modification or suspension occurs, notification will be posted on the
                               Website.
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                               ANY ATTEMPT BY AN ENTRANT OR ANY OTHER INDIVIDUAL TO DELIBERATELY DAMAGE THE WEBSITE
                               OR UNDERMINE THE LEGITIMATE OPERATION OF ANY CONTEST IS A VIOLATION OF CRIMINAL AND/OR
                               CIVIL LAWS AND SHOULD SUCH AN ATTEMPT BE MADE, TOPSTEPTRADER RESERVES THE RIGHT TO
                               SEEK DAMAGES AND OTHER REMEDIES FROM ANY SUCH PERSON TO THE FULLEST EXTENT
                               PERMITTED BY LAW.
                               All entries become the property of TopstepTrader and will not be acknowledged or returned.
                               To be eligible to enter any contest or receive any prize, the Authorized Account Holder may be required to provide
                               TopstepTrader with additional documentation and/or information to verify the identity of the Authorized Account
                               Holder, and to provide proof that all eligibility requirements are met. In the event of a dispute as to the identity or
                               eligibility of an Authorized Account Holder, TopstepTrader will, in its sole and absolute discretion, utilize certain
                               information collected by TopstepTrader to assist in verifying the identity and/or eligibility of such Authorized Account
                               Holder.
                               Participation in each Contest must be made only as specified in the Terms of Use. Failure to comply with these
                               Terms of Use will result in disqualification and, if applicable, prize forfeiture.
                               Where legal, both entrants and winner consent to the use of their name, voice, and likeness/photograph in and in
                               connection with the development, production, distribution and/or exploitation of any Contest or the Website. Winners
                               agree that from the date of notification by TopstepTrader of their status as a potential winner and continuing until
                               such time when TopstepTrader informs them that they no longer need to do so that they will make themselves
                               available to TopstepTrader for publicity, advertising, and promotion activities.
                               TopstepTrader reserves the right to move entrants from the Contests they have entered to similar Contests in
                               certain situations determined by TopstepTrader in its sole discretion.

                               CONTEST PRIZES AND PROMOTIONS
                               Prizes will only be awarded if a Contest is run. We reserve the right to cancel Contests at any time. In the event of a
                               cancellation, all entry fees will be refunded to the customer except as specifically provided in these Terms of Use.
                               Guaranteed prizes are offered in connection with some of the Contests offered by the Website. Each Contest or
                               promotion is governed by its own set of official rules. We encourage you to read such Contest and promotions Rules
                               before participating.

                               CONTEST OF SKILL
                               Contests offered on the Website are contests of skill. Winners are determined by the objective criteria described in
                               the Contest deadline, Rules, scoring, and any other applicable documentation associated with the Contest. From all
                               entries received for each Contest, winners are determined by the individuals who use their skill and knowledge of
                               relevant trading information and trading concepts to accumulate the most points according to the corresponding

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                               scoring rules. The Website and Contests may not be used for any form of illicit gambling.

                               CONTEST STATISTICS AND LIVE SCORING
                               To the extent that we offer 'live' statistics during gameplay, all 'live' statistics and other information provided through
                               the TopstepTrader Website and related information sources are unofficial. Live financial market data, statistics, and
                               their respective components are offered for informational and/or entertainment purposes only. While TopstepTrader
                               and the third parties used to provide the TopstepTrader Services use reasonable efforts to include accurate and up-
                               to-date information, neither TopstepTrader nor its third party providers warrant or make any representations of any
                               kind with respect to the information provided through the TopstepTrader Website and related information sources.
                               TopstepTrader and its third party providers shall not be responsible or liable for the accuracy, usefulness, or
                               availability of any information transmitted or made available via the TopstepTrader Website and related information
                               sources, and shall not be responsible or liable for any error or omissions in that information.

                               CONTEST RESULTS
                               Contest results and prize calculations are based on the final statistics and scoring results at the completion of each
                               individual Contest. Once Contest results are reviewed and graded, prizes are awarded. The scoring results of a
                               Contest will not be changed regardless of any official statistics or adjustments made at later times or dates, except
                               in TopstepTrader's sole discretion.
                               TopstepTrader reserves the right, in its sole and absolute discretion, to deny any contestant the ability to participate
                               in head-to-head contests for any reason whatsoever. Further, TopstepTrader may, in its sole and absolute
                               discretion, invalidate any head-to-head contest result for the purposes of preventing abusive and/or any unfair or
                               potentially unlawful activity, or in the event that there is a risk of any such abusive, illegal, or unfair activity.

                               PRIZES (INSERT PRIZE INFO)
                               At the conclusion of each Contest, prizes will be awarded within 5 business days except in circumstances where
                               technical failure or other reasons prevent such timely payout. Contest prizes equal a percentage of the applicable
                               Contest's entry fees less an administration fee of no more than 20%, and are listed in our prize tables list. Prizes
                               won are added to the winning participants account balance. In the event of a tie, prizes are divided evenly amongst
                               the participants that have tied.

                               PRIZE TABLES
                               Contest prize payouts will be published with the creation of each new contest. TopstepTrader, at its sole discretion,
                               may revise the prize tables and/or the recipients of each prize at any time. Notification of such changes may be
                               provided by TopstepTrader to its customers but will not be required.

                               PAYMENT AND WITHDRAWAL OF PRIZES

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                               Winners are posted on the Website.
                               Entrants may withdraw their cash prize awards as well as cash deposits by using the “Withdrawal” option on the
                               Website. Entrants may be requested to complete an affidavit of eligibility and a liability/publicity release (unless
                               prohibited by law) and/or appropriate tax forms and forms of identification including but not limited to a Driver's
                               License, Proof of Residence, and/or any information relating to payment/deposit accounts as reasonably requested
                               by TopstepTrader in order to complete the withdrawal of prizes. Failure to comply with this requirement may result in
                               disqualification and forfeiture of any prizes. Disqualification or forfeiture of any prizes may also occur if it is
                               determined any such entrant did not comply with these Terms of Use in any manner.
                               Checks for withdrawal requests are processed within 14 business days, and are sent via U.S. Mail. Promotional
                               deposits, credits, and other bonuses may not be withdrawn from a TopstepTrader account unless appropriate terms
                               of the promotion are achieved first by the user.
                               All taxes associated with the receipt of any prize are the sole responsibility of the winner. In the event that the
                               awarding of any prizes to winners of Contests is challenged by any legal authority, TopstepTrader reserves the right
                               in its sole discretion to determine whether or not to award such prizes.
                               No substitution or transfer of prize is permitted, except that TopstepTrader reserves the right to substitute a prize of
                               equal value or greater if the advertised prize is unavailable. All prizes are awarded "as is" and without warranty of
                               any kind, express or implied (including, without limitation, any implied warranty of merchantability for a particular
                               purpose).
                               Any withdrawal requests, after approval by TopstepTrader, will be credited back to the same credit card or method
                               of payment used to deposit funds on the Website. TopstepTrader will only release withdrawals to a different credit
                               card or other payment method other than that which was used to make deposit(s) after the aggregate amount of
                               such deposit(s) has already been released back to the credit card(s) or payment method(s) used for the deposit(s).

                               TERMINATION AND EFFECT OF TERMINATION
                               In addition to any other legal or equitable remedy, TopstepTrader may, without prior notice, immediately revoke any
                               or all of your rights granted hereunder. In such event, you will immediately cease all access to and use of the
                               TopstepTrader Website. TopstepTrader may revoke any password(s) and/or account identification issued to you
                               and deny you access to and use of the Website. Any such action shall not affect any rights and obligations arising
                               prior thereto. All provisions of the Terms of Use, which by their nature should survive termination, shall survive
                               termination, including, without limitation, ownership provisions, warranty disclaimers, indemnity and limitations of
                               liability.

                               DISCLAIMER OF WARRANTIES
                               THE WEBSITE, INCLUDING, WITHOUT LIMITATION, ALL CONTENT, SOFTWARE, AND FUNCTIONS MADE
                               AVAILABLE ON OR ACCESSED THROUGH OR SENT FROM THE WEBSITE, ARE PROVIDED "AS IS," "AS

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                               AVAILABLE," AND "WITH ALL FAULTS." TO THE FULLEST EXTENT PERMISSIBLE BY LAW, THE COMPANY
                               AND ITS PARENTS, SUBSIDIARIES AND AFFILIATES MAKE NO REPRESENTATION OR WARRANTIES OR
                               ENDORSEMENTS OF ANY KIND WHATSOEVER (EXPRESS OR IMPLIED) ABOUT: (A) THE WEBSITE; (B) THE
                               CONTENT AND SOFTWARE ON AND PROVIDED THROUGH THE WEBSITE; (C) THE FUNCTIONS MADE
                               ACCESSIBLE ON OR ACCESSED THROUGH THE WEBSITE; (D) THE MESSAGES AND INFORMATION SENT
                               FROM THE WEBSITE BY USERS; (E) ANY PRODUCTS OR SERVICES OFFERED VIA THE WEBSITE OR
                               HYPERTEXT LINKS TO THIRD PARTIES; AND/OR (F) SECURITY ASSOCIATED WITH THE TRANSMISSION
                               OF SENSITIVE INFORMATION THROUGH THE WEBSITE OR ANY LINKED SITE. THE COMPANY DOES NOT
                               WARRANT THAT THE WEBSITE, ANY OF THE WEBSITES' FUNCTIONS OR ANY CONTENT CONTAINED
                               THEREIN WILL BE UNINTERRUPTED OR ERROR-FREE; THAT DEFECTS WILL BE CORRECTED; OR THAT
                               THE WEBSITES OR THE SERVERS THAT MAKES THEM AVAILABLE ARE FREE OF VIRUSES OR OTHER
                               HARMFUL COMPONENTS.
                               THE COMPANY DOES NOT WARRANT THAT YOUR ACTIVITIES OR USE OF THE WEBSITE IS LAWFUL IN
                               ANY PARTICULAR JURISDICTION AND, IN ANY EVENT, THE COMPANY SPECIFICALLY DISCLAIMS SUCH
                               WARRANTIES. YOU UNDERSTAND THAT BY USING ANY OF THE FEATURES OF THE WEBSITE, YOU ACT
                               AT YOUR OWN RISK, AND YOU REPRESENT AND WARRANT THAT YOUR ACTIVITIES ARE LAWFUL IN
                               EVERY JURISDICTION WHERE YOU ACCESS OR USE THE WEBSITE OR THE CONTENT. FURTHER, THE
                               COMPANY AND ITS PARENTS, SUBSIDIARIES AND AFFILIATES DISCLAIM ANY EXPRESS OR IMPLIED
                               WARRANTIES INCLUDING, WITHOUT LIMITATION, NONINFRINGEMENT, MERCHANTABILITY, FITNESS FOR
                               A PARTICULAR PURPOSE, AND TITLE.
                               THE COMPANY, ITS PARENTS, SUBSIDIARIES AND AFFILIATES, AND THE DIRECTORS, OFFICERS,
                               EMPLOYEES, AND OTHER REPRESENTATIVES OF EACH OF THEM, SHALL NOT BE LIABLE FOR THE USE
                               OF THE WEBSITE INCLUDING, WITHOUT LIMITATION, THE CONTENT AND ANY ERRORS CONTAINED
                               THEREIN. SOME JURISDICTIONS LIMIT OR DO NOT ALLOW THE DISCLAIMER OF IMPLIED OR OTHER
                               WARRANTIES SO THE ABOVE DISCLAIMER MAY NOT APPLY TO THE EXTENT SUCH JURISDICTION'S LAW
                               IS APPLICABLE TO THIS AGREEMENT.

                               LIMITATION OF LIABILITY
                               YOU UNDERSTAND AND AGREE THAT THE COMPANY LIMITS ITS LIABILITY IN CONNECTION WITH YOUR
                               USE OF THE WEBSITE AS SET FORTH BELOW: UNDER NO CIRCUMSTANCES SHALL THE COMPANY, ITS
                               PARENTS, SUBSIDIARIES, OR AFFILIATES, OR THE DIRECTORS, OFFICERS, EMPLOYEES, OR OTHER
                               REPRESENTATIVES OF EACH OF THEM (COLLECTIVELY, THE "COMPANY ENTITIES AND INDIVIDUALS"),
                               BE LIABLE TO YOU FOR ANY LOSS OR DAMAGES OF ANY KIND (INCLUDING, WITHOUT LIMITATION, FOR
                               ANY SPECIAL, DIRECT, INDIRECT, INCIDENTAL, EXEMPLARY, ECONOMIC, PUNITIVE, OR CONSEQUENTIAL
                               DAMAGES) THAT ARE DIRECTLY OR INDIRECTLY RELATED TO (1) THE WEBSITE, THE CONTENT, OR
                               YOUR UPLOAD INFORMATION; (2) THE USE OF, INABILITY TO USE, OR PERFORMANCE OF THE WEBSITE;
                               (3) ANY ACTION TAKEN IN CONNECTION WITH AN INVESTIGATION BY THE COMPANY OR LAW
                               ENFORCEMENT AUTHORITIES REGARDING YOUR USE OF THE WEBSITE OR CONTENT; (4) ANY ACTION
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                               TAKEN IN CONNECTION WITH COPYRIGHT OWNERS; OR (5) ANY ERRORS OR OMISSIONS IN THE
                               WEBSITE'S TECHNICAL OPERATION, EVEN IF FORESEEABLE OR EVEN IF THE COMPANY ENTITIES AND
                               INDIVIDUALS HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES WHETHER IN AN ACTION OF
                               CONTRACT, NEGLIGENCE, STRICT LIABILITY TORT (INCLUDING, WITHOUT LIMITATION, WHETHER
                               CAUSED IN WHOLE OR IN PART BY NEGLIGENCE, ACTS OF GOD, TELECOMMUNICATIONS FAILURE, OR
                               THEFT OR DESTRUCTION OF THE WEBSITE). IN NO EVENT WILL THE COMPANY ENTITIES AND
                               INDIVIDUALS BE LIABLE TO YOU OR ANYONE ELSE FOR LOSS OR INJURY, INCLUDING, WITHOUT
                               LIMITATION, DEATH OR PERSONAL INJURY. SOME STATES DO NOT ALLOW THE EXCLUSION OR
                               LIMITATION OF INCIDENTAL OR CONSEQUENTIAL DAMAGES, SO THE ABOVE LIMITATION OR EXCLUSION
                               MAY NOT APPLY TO YOU. IN NO EVENT SHALL THE COMPANY ENTITIES AND INDIVIDUALS TOTAL
                               LIABILITY TO YOU FOR ALL DAMAGES, LOSSES, OR CAUSES OF ACTION EXCEED ONE HUNDRED
                               DOLLARS ($100). THE COMPANY ENTITIES AND INDIVIDUALS ARE NOT RESPONSIBLE FOR ANY DAMAGE
                               TO ANY USER'S COMPUTER, HARDWARE, COMPUTER SOFTWARE, OR OTHER EQUIPMENT OR
                               TECHNOLOGY INCLUDING, WITHOUT LIMITATION, DAMAGE FROM ANY SECURITY BREACH OR FROM
                               ANY VIRUS, BUGS, TAMPERING, FRAUD, ERROR, OMISSION, INTERRUPTION, DEFECT, DELAY IN
                               OPERATION OR TRANSMISSION, COMPUTER LINE OR NETWORK FAILURE OR ANY OTHER TECHNICAL
                               OR OTHER MALFUNCTION. YOUR ACCESS TO AND USE OF THIS WEBSITE IS AT YOUR RISK. IF YOU ARE
                               DISSATISFIED WITH THE WEBSITE OR ANY OF THE CONTENT, YOUR SOLE AND EXCLUSIVE REMEDY IS
                               TO DISCONTINUE ACCESSING AND USING THE WEBSITE OR THE CONTENT. YOU RECOGNIZE AND
                               CONFIRM THAT IN THE EVENT YOU INCUR ANY DAMAGES, LOSSES OR INJURIES THAT ARISE OUT OF
                               THE COMPANY'S ACTS OR OMISSIONS, THE DAMAGES, IF ANY, CAUSED TO YOU ARE NOT IRREPARABLE
                               OR SUFFICIENT TO ENTITLE YOU TO AN INJUNCTION PREVENTING ANY EXPLOITATION OF ANY WEBSITE
                               OR OTHER PROPERTY OWNED OR CONTROLLED BY THE COMPANY AND/OR ITS PARENTS,
                               SUBSIDIARIES, AND/OR AFFILIATES OR YOUR UPLOAD INFORMATION, AND YOU WILL HAVE NO RIGHTS
                               TO ENJOIN OR RESTRAIN THE DEVELOPMENT, PRODUCTION, DISTRIBUTION, ADVERTISING, EXHIBITION
                               OR EXPLOITATION OF ANY COMPANY WEBSITE OR OTHER PROPERTY OR YOUR UPLOAD INFORMATION
                               OR ANY AND ALL ACTIVITIES OR ACTIONS RELATED THERETO. BY ACCESSING THE WEBSITE, YOU
                               UNDERSTAND THAT YOU MAY BE WAIVING RIGHTS WITH RESPECT TO CLAIMS THAT ARE AT THIS TIME
                               UNKNOWN OR UNSUSPECTED. ACCORDINGLY, YOU AGREE TO WAIVE THE BENEFIT OF ANY LAW,
                               INCLUDING, TO THE EXTENT APPLICABLE, CALIFORNIA CIVIL CODE SECTION 1542, THAT OTHERWISE
                               MIGHT LIMIT YOUR WAIVER OF SUCH CLAIMS.

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                               The content on the Website, including without limitation, the text, software, scripts, graphics, photos, sounds, music,
                               videos, interactive features and the like and the trademarks, service marks and logos contained therein (the
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                               expressly granted in and to the Website and the Intellectual Property. You agree to not engage in the use, copying,
                               or distribution of any of the Intellectual Property other than expressly permitted herein. If you download or print a
                               copy of the Intellectual Property for personal use, you must retain all copyright and other proprietary notices
                               contained therein. You agree not to circumvent, disable or otherwise interfere with security related features of the
                               Website or features that prevent or restrict use or copying of any Intellectual Property or enforce limitations on use
                               of the Website or the Intellectual Property therein.
                               Some of the Services may allow you to submit or transmit audio, video, text, or other materials (collectively, “User
                               Submissions”) to or through the Services. When you provide User Submissions, you grant to TopstepTrader, its
                               parents, subsidiaries, affiliates, and partners a non-exclusive, worldwide, royalty-free, fully sublicenseable license to
                               use, distribute, edit, display, archive, publish, sublicense, perform, reproduce, make available, transmit, broadcast,
                               sell, translate, and create derivative works of those User Submissions, and your name, voice, likeness and other
                               identifying information where part of a User Submission, in any form, media, software, or technology of any kind now
                               known or developed in the future, including, without limitation, for developing, manufacturing, and marketing
                               products. You hereby waive any rights you may have in your User Submissions.
                               We respect your ownership of User Submissions. If you owned a User Submission before providing it to us, you will
                               continue owning it after providing it to us, subject to any rights granted in the Terms of Use and any access granted
                               to others. If you delete a User Submission from the Services, our general license to that User Submission will end
                               after a reasonable period of time required for the deletion to take full effect. However, the User Submission may still
                               exist in our backup copies, which are not publicly available. If your User Submission is shared with third parties,
                               those third parties may have retained copies of your User Submissions. In addition, if we made use of your User
                               Submission before you deleted it, we will continue to have the right to make, duplicate, redistribute, and sublicense
                               those pre-existing uses, even after you delete the User Submission. Terminating your account on a Service will not
                               automatically delete your User Submissions.
                               We may refuse or remove a User Submission without notice to you. However, we have no obligation to monitor User
                               Submissions, and you agree that neither we nor our parents, subsidiaries, affiliates, employees, or agents will be
                               liable for User Submissions or any loss or damage resulting from User Submissions.
                               Except as provided in the Privacy Policy, we do not guarantee that User Submissions will be private, even if the
                               User Submission is in a password-protected area. Accordingly, you should not provide User Submissions that you
                               want protected from others.
                               You represent and warrant that you have all rights necessary to grant to TopstepTrader the license above and that
                               none of your User Submissions are defamatory, violate any rights of third parties (including intellectual property
                               rights or rights of publicity or privacy), or violate applicable law.

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                               These Terms of Use shall be governed by the internal substantive laws of the State of Illinois, without respect to its
                               conflict of laws principles. Any claim or dispute between you and TopstepTrader that arises in whole or in part from
                               the Terms of Use, the Website or any Contest shall be decided exclusively by a court of competent jurisdiction
                               located in Cook County, Illinois.
                               Nothing in the Terms of Use shall create or confer any rights or other benefits in favor of any third parties except as
                               specifically provided herein. By participating in any Contest on the Website, you agree to indemnify, protect, defend
                               and hold harmless TopstepTrader, its parents, subsidiaries, affiliates and divisions, and their respective directors,
                               officers, employees, agents and representatives (the “TopstepTrader Entities”), from and against any and all third
                               party claims, liabilities, losses, damages, injuries, demands, actions, causes of action, suits, proceedings, judgments
                               and expenses, including reasonable attorneys’ fees, court costs and other legal expenses including, without
                               limitation, those costs incurred at the trial and appellate levels and in any bankruptcy, reorganization, insolvency or
                               other similar proceedings, and any other legal expenses (collectively, “Claims”) arising from or connected with your
                               use of the Website, any payment methods used, any funding of your account, and/or your participation in any
                               Contest. The Website may contain links to third party websites that are not owned or controlled by TopstepTrader.
                               TopstepTrader has no control over, and assumes no responsibility for, the content, privacy policies, or practices of
                               any third party websites. In addition, TopstepTrader will not and cannot censor or edit the content of any third-party
                               site. By using the Website, you expressly relieve TopstepTrader from any and all liability arising from your use of
                               any third-party website. Accordingly, we encourage you to be aware when you leave the Website and to read the
                               terms and conditions and privacy policy of each other website that you visit.
                               Nothing in the Terms of Use shall create or be deemed to create a partnership, agency, trust arrangement, fiduciary
                               relationship or joint venture between you and TopstepTrader.
                               No company, exchange, or affiliate of the entities used on TopstepTrader are in any way affiliated with
                               TopstepTrader or in any way affiliated or associated with the Contests.
                               If any provision of these Terms of Use is deemed invalid by a court of competent jurisdiction, the invalidity of such
                               provision shall not affect the validity of the remaining provisions of these Terms of Use, which shall remain in full
                               force and effect.
                               No waiver of any term of these Terms of Use shall be deemed a further or continuing waiver of such term or any
                               other term, and TopstepTrader's failure to assert any right or provision under these Terms of Use shall not constitute
                               a waiver of such right or provision.
                               TopstepTrader reserves the right to amend these Terms of Use at any time and without notice, and it is your
                               responsibility to review these Terms of Use for any changes. If you continue to use the Services after we change the
                               Terms of Use, you accept all changes. The failure of TopstepTrader to comply with any provision of these Terms of
                               Use due to an act of God, hurricane, war, fire, riot, earthquake, terrorism, act of public enemies, actions of
                               governmental authorities outside of the control of the Company (excepting compliance with applicable codes and
                               regulations) or other force majeure event will not be considered a breach of these Terms of Use.


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                               THIRD PARTY TRADEMARKS, TRADE NAMES, PRODUCT NAMES AND LOGOS MAY BE THE TRADEMARKS
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